                                                                                                            _[)p
Case 2:11-cv-05537-ADS-ARL Document 54-1 Filed 03/24/16 Page 1 of 1 PageiD #: 502




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------------)(
  PUES FAMILY TRUST IRA, BY MICHAEL PUES,                                      Index No.: 11-CV-05537
  E)(ECUTOR OF THE ESTATE,
                                                                               PLAINTIFF'S
                                      Plaintiff,                               PROPOSED JUDGMENT

                   -against-                                                                  FILED
                                                                                           IN CLERK'S OFFICE
                                                                                     U.S. DISTRiCT COURT E.D.N.Y.
  PARNAS HOLDINGS INC. and LEV PARNAS,
  INDIVIDUALLY,
                                                                                    *        MAR 28 2016      *
                                      Defendants.                                    LONG ISLAND OFFICE
  ------------------------------------------------------------------------)(
         This action having been commenced on November 14, 2011 by the filing of the

 Summons and Complaint, and having been tried before this court on April 27, 2015, IT IS

 HEREBY ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

         That as it pertains to Plaintiff's causes of action sounding in fraudulent inducement of

 contract, conversion, fraud, and unjust enrichment, these claims are hereby dismissed;

         That as it pertains to Plaintiff's cause of action sounding in breach of contract, judgment

 is hereby granted in favor of Plaintiff in the amount of $350,000.00; and it is

         ORDERED, ADJUDGED, AND DECREED that Plaintiff have judgment against

 Defendants in the amount of $350,000.00 with interest at 9% pursuant to C.P.L.R. § 5004 from
                                      ft5o~1 13'-L10
 March 17,2011, amounting to $531,181.33, plus costs and disbursements of this action in the

 amount of $1,700, amounting in all to $           5 10, Lf 3 'I, 70 .
                                                       '


 Dated: New York, New York

        __3"-'/Y_i_~, 2016
                                                              s/ Arthur D. Spatt
                                                                                      I
                                                              United States District Judge
